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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-21553-Civ-COOKE/GOODMAN


   PATRICK GAYLE, et al.,
                   Petitioners-Plaintiffs, on behalf of
                   themselves and those similarly situated,

   vs.
   MICHAEL W. MEADE, et al.,
                   Respondents-Defendants.
   _______________________________________________/
            ORDER SETTING CIVIL TRIAL DATE AND PRETRIAL DEADLINES
            Pursuant to Local Rule 16.1, and the Court having considered the parties’ Rule 16.1
   Scheduling Report, it is hereby ORDERED as follows:
            1. Trial Date and Calendar Call. This case is set for trial on the Court’s two-week
   trial period commencing Monday, January 19, 2021, at 9:30 a.m., before the undersigned
   United States District Judge at the Federal Courthouse, Courtroom 11-2, 400 North Miami
   Avenue, Miami, Florida. Calendar Call will be held on Wednesday, January 13, 2021, at
   3:00 p.m., at the same location. The case will be assigned to the standard case management
   track.
            2.   Pretrial Conference. No Pretrial Conference will be held in this action, unless
   the Court determines that a pretrial conference is necessary. Should a pretrial conference be
   set, the compliance deadlines as set forth in the remainder of this Order will remain
   unaltered.
            3. Pretrial Deadlines. The pretrial deadlines are as follows:
          July 17, 2020:        Parties must furnish opposing counsel with a written list
   containing the names and addresses of all fact witnesses intended to be called at trial and
   only those witnesses listed must be permitted to testify unless good cause is shown and there
   is no prejudice to opposing party. The parties are under a continuing obligation to
   supplement discovery responses within ten days of receipt or other notice of new or revised
   information.

            August 7, 2020:      All fact discovery must be completed.
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          August 14, 2020:     All dispositive and other pretrial motions not explicitly excluded
   by S.D. Fla. L.R. 7.1.A.1 and accompanying memoranda of law, must be filed.

          August 21, 2020:     Plaintiff must furnish expert witness list to the Defendant,
   along with the summaries/reports required by Fed. R. Civ. P. 26(a)(2), and only those expert
   witnesses will be permitted to testify. Within the fourteen-day period thereafter, Plaintiff
   must make its experts available for deposition by the Defendant.

          September 4, 2020: Defendant must furnish expert witness list to the Plaintiff along
   with the summaries/reports required by Fed. R. Civ. P. 26(a)(2), and only those expert
   witnesses will be permitted to testify. Within the fourteen-day period thereafter, Defendant
   must make its experts available for deposition by the Plaintiff.

          September 18, 2020: All expert discovery must be completed.

        September 25, 2020: All Daubert and Markman motions and accompanying
   memoranda of law must be filed.

         October 2, 2020:      Mediation must be completed. The Court has attached an
   Order of Referral to Mediation.

           December 11, 2020: (a) A Joint Pretrial Stipulation must be filed. The stipulation
   must conform to Local Rule 16.1(c) and include a joint, neutral summary of the claims and
   defenses in the case, not to exceed one short paragraph per litigant claim, to be read as an
   introduction for voir dire examination. The pretrial stipulation must also include Plaintiff ’s
   non-binding breakdown of damages with corresponding amounts and other relief sought.
   The parties must meet at least one month prior to the deadline for filing the pretrial
   stipulation to confer on preparation of that stipulation. The Court will not accept unilateral
   pretrial stipulations, and will strike sua sponte any such submissions. A copy of the joint
   pretrial stipulation must be delivered to chambers in Microsoft Word format at the time of
   filing via email to cooke@flsd.uscourts.gov;

                                  (b) A Joint Summary of the Parties’ Motion(s) in Limine must
   be separately filed. The joint summary must contain a cover page providing the style of the
   case and an index of the motion(s) in limine. For each evidentiary issue, the joint summary
   must include: a one-page argument identifying the evidence sought to be excluded or
   included at trial and citing legal authority supporting exclusion or inclusion; and a one-page
   response to the argument citing legal authority in support of admission or exclusion of the
   disputed evidence. The parties must work together to prepare the joint summary and are
   encouraged to resolve evidentiary issues through stipulation. Motions in limine will not be
   accepted in any other form.
          January 8, 2021:        (a) Final proposed jury instructions and verdict form must




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   filed. 1 The parties must submit a SINGLE, JOINT set of proposed jury instructions and
   verdict form, though the parties need not agree on the proposed language of each or any
   instruction or question on the verdict form. Where the parties do agree on a proposed
   instruction or question, that instruction or question must be set forth in Times New Roman
   14 point typeface. Instructions and questions proposed only by the plaintiff(s) to which the
   defendant(s) object must be italicized. Instructions and questions proposed only the
   defendant(s) to which the plaintiff(s) object must be bold-faced. Each jury instruction must
   be typed on a separate sheet and must be supported by citations of authority. Each disputed
   jury instruction must also state the basis for the objection(s) at the bottom of the sheet,
   before the citations of authority. In preparing their requested jury instructions, the parties
   may utilize as a guide the Pattern Jury Instructions for Civil Cases approved by the United
   States Eleventh Circuit, including the Directions to Counsel contained therein. A copy of
   the proposed jury instructions and verdict form must be delivered to chambers in Microsoft
   Word format at the time of filing via email to cooke@flsd.uscourts.gov;

                                (b) A trial witness list indicating each witness who will testify at
   trial, a one-sentence synopsis of the testimony, and in consultation with opposing counsel,
   indicate the amount of time needed for direct and cross examination;

                              (c) A list of witnesses with some identifying information
   (address or place of employment) to provide to jury; and

                                (d) Proposed Voir Dire questions specific to the case (general voir
   dire questions should not be included).

                                (e) Any proposed deposition designations, cross-designations,
   and objections therein. Parties must submit their designations in one table, with columns
   listing the witnesses’ names, the deposition dates, the proposed designations by page and
   line, and any objections using the codes listed in Local Rule 16.1(e)(9).

           4. Trial Instructions. All exhibits must be pre-marked. The Plaintiff ’s exhibits must
   be marked numerically preceded by the letter “P.” Defendant’s exhibits must be marked
   numerically preceded by the letter “D.” For example, Plaintiff ’s exhibit will be marked P-1,
   P-2, P-3 etc. Likewise, Defendant’s exhibit will be marked D-1, D-2, D-3 etc. A typewritten
   exhibit list setting forth the number and letter, and description of each exhibit must be
   submitted at the time of trial. The parties must submit said exhibit list on Form AO 187,
   which is available from the Clerk’s office.


           5. Motion for Continuance. A Motion for Continuance must not stay the

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    If this action is to be set for a bench trial the Parties are directed to submit proposed findings of fact
   and conclusions of law in lieu of proposed jury instructions.


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   requirement for the filing of a Pretrial Stipulation and, unless an emergency arises, a motion
   for continuance will not be considered unless it is filed at least 14 days prior to the date on
   which the trial calendar is scheduled to commence. A continuance of the trial date will be
   granted only on a showing of compelling circumstances.
            6. Non-Compliance. Non-compliance with any provision of this Order may subject
   the offending party to sanctions, including denial of the motion, dismissal of claims or
   striking of defenses. It is the duty of all counsel to enforce the timetable set forth above to
   insure an expeditious resolution of this cause.
            7. Settlement. If this case is settled, counsel are directed to inform the Court
   promptly by calling Chambers and submitting an appropriate order for dismissal within ten
   days of notification of settlement to the Court, pursuant to Fed. R. Civ. P. 41(a)(1). The
   case will remain on the trial calendar until an order dismissing the action is entered by the
   Court.
            DONE and ORDERED in Chambers, in Miami, Florida, this 1st day of July 2020.




   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of record




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-21553-Civ-COOKE/GOODMAN


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                  themselves and those similarly situated,

   vs.
   MICHAEL W. MEADE, et al.,
                  Respondents-Defendants.
   __________________________________________________/

                           ORDER OF REFERRAL TO MEDIATION
            Trial having been set in this matter for the two-week period commencing January 19,
   2021, pursuant to Federal Rule of Civil Procedure 16 and Southern District Local Rule
   16.2, it is hereby
            ORDERED AND ADJUDGED as follows:
            l.    All parties are required to participate in mediation. The mediation must be
   completed no later than October 2, 2020.
            2.    Plaintiff ’s counsel, or another attorney agree upon by all counsel of record
   and any unrepresented parties, will be responsible for scheduling the mediation conference.
   The parties are encouraged to avail themselves of the services of any mediator on the List of
   Certified mediators, maintained in the office of the Clerk of this Court, but may select any
   other mediator. The parties shall agree upon a mediator within 15 days from the date of this
   Order and notify the Court. If the parties are unable to agree upon a mediator, Plaintiff ’s
   counsel shall promptly notify the Clerk in writing and the Clerk will designate a mediator
   from the List of Certified Mediators, which designation will be made on a blind rotation
   basis.
            3.    A place, date and time for mediation convenient to the mediator, counsel of
   record, and unrepresented parties must be established. The Plaintiff ’s attorney must
   complete the attached proposed Order Scheduling Mediation and submit it to the Court no



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   later than 30 days before the mediation.
          4.     The appearance of counsel and each party or representatives of each party
   with full authority to enter into a full and complete compromise and settlement is
   mandatory. If insurance is involved, an adjuster with authority up to the policy limits or the
   most recent demand, whichever is lower, must attend.
          5.     All discussions, representations, and statements made at the mediation
   conference will be confidential and privileged.
          6.     At least ten days prior to the mediation date, all parties must present to the
   mediator a brief written summary of the case identifying issues to be resolved. Copies of
   these summaries must be served on all other parties.
          7.     The Court may impose sanctions against parties and/or counsel who do not
   comply with the attendance or settlement authority requirements herein or who otherwise
   violate the terms of this Order. The mediator must report non-attendance and may
   recommend imposition of sanctions by the Court for non-attendance.
          8.     The mediator will be compensated in accordance with the standing order of
   the Court entered pursuant to Rule 16.2(b)(6), or on such basis as may be agreed to in
   writing by the parties and the mediator selected by the parties. The cost of mediation will be
   shared equally by the parties unless otherwise ordered by the Court.
          9.     If a full or partial settlement is reached in this case, counsel must promptly
   notify the Court of the settlement in accordance with Local Rule 16.2(f), by the filing of a
   notice of settlement signed by counsel of record within ten days of the mediation
   conference. Thereafter the parties must forthwith submit an appropriate pleading concluding
   the case.
          10.    Within five days following the mediation conference, the mediator must file a
   Mediation Report indicating whether all required parties were present. The report must also
   indicate whether the case settlement (in full or in part), was continued with the consent of
   the parties, or whether the mediator declared an impasse.
          11.    If mediation is not conducted, sanctions may be imposed.




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          DONE and ORDERED in Chambers, Miami, Florida, this 1st day of July 2021.




   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of record




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                            UNITED STATES DISTRICT COURT
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                 Respondents-Defendants.
   ________________________________________________/

                            ORDER SCHEDULING MEDIATION
          The mediation conference in this matter will be held with ________________ on
   _______________, 20__, at _______ .m. at __________________________________
   _________________________________, Florida.
          ENTERED this ___ day of _______________, 20__.



                                                    _______________________________
                                                    Honorable Marcia G. Cooke
                                                    UNITED STATES DISTRICT JUDGE

   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of Record




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